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IN THE UNITED STATES DISTRICT COUR l E w " ` _
FOR THE WESTERN DISTRICT OF TENNES§§ § '§-33[] PH 3: 35
EASTERN DIVISION
AUSTIN B. FRANKS, and Wife,
EDITH FRANKS,
Plaintift`s,
VS. No. 05-1155-T/An

MERCK & CO., lNC., ET AL.,

‘-..,/\-,/\..,/\_/\_/\.,/\_/\_/\_/\_/

Det`endants.

 

ORDER GRANTING MOTION TO STAY

 

Plaintiffs Austin B. Franks and Edith Franks filed this action in the Circuit Court of
Hardin County, Tennessee, on May 4, 2005, against Merck and Company, Inc., maker of the
prescription drug known as Vioxx. Plaintiffs also named as defendants certain local Merck
sales representatives and pharmacists l\/lerck removed the action to this Court on June 6,
2005, on the basis of diversity of citizenship, contending that the non-diverse defendants
Were fraudulently joined in an attempt to defeat diversity jurisdiction

Also on June 6, 2005, Merck filed a motion to stay all further proceedings pending
a decision by the J udicial Panel on Multidistrict Litigation (“l\/[DL Panel”) on Whether this
case should be transferred to the United States District Court for the Eastern District of

Louisiana as a “tag-along” action in MDL Proceeding No. 1657, In re Vioxx Product

This document entered on the docket sheet‘ m compliance
with Rule 58 and or 79 (a) FRCP on "| ' ` 5

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Liability Litigation. Plaintiffs filed a motion to remand the action to state court on June 21,
2005.

The MDL Panel issued the first Transfer Order establishing MDL-1657 on February
16, 2005. In that order, the Panel stated:

The pendency of a motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedingsl We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastern District ofMissouri, as Well as in any other MDL-l 657 actions can be

presented to and decided by the transferee judge. See, e.g., 111 re Ivy, 901 F.Zd

7 (2d Cir. 1990); 111 re Prudential In.surance Company cf America Sales

Praclices Litigarion, 170 F. Supp. 2d 1346, 1347-48 (J.P.M.L. 2001).
Transfer Order, at 2 (J.P.M.L. Feb. 16, 2005).

The pendency of transfer to the MDL proceeding does not limit the authority of this
Court to rule on the plaintiffs’ motion to remand E JPML R. 1.5. The decision Whether
to grant a stay is Within the inherent power of the Court and is discretionary g Landis v.
North Am. Co., 299 U.S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel’s decision on transfer, see, e.g., Kantner

v. Merck & Co. lnc., No. l:O4CV2044-JDT-TAB, 2005 WL 277688 (S.D. Ind. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has

been filed. E_g, Anderson v. Merck & Co. Inc., No. 4:05-cv-89 (E.D. Mo. Mar. 16, 2005);

 

McCrerev v. Merck & Co., lnc., No. 04-cv-2576 (S.D. Cal. Mar. 2, 2005); Dixon v. Merck

 

& Co. Inc., No. 05-0121 (S.D. Tex. Feb. 23, 2005).

There are several other Vioxx cases already pending in this district, and possibly

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thousands more in other districts ln many of those cases, the joinder of non-diverse
defendants is contested and motions to remand have been or will be filed. Thus, the
jurisdictional issues raised in this case are similar to those raised in other cases that have
been or Will be transferred to the MDL proceeding

The Court finds that having thejurisdictional issues decided in one proceeding will
promote judicial economy and conserve judicial resources In addition, the Court finds that
any prejudice to the plaintiffs resulting from a stay would be minimal. However, in the
absence of a stay, the risk to Merck of duplicative motions and discovery is significant

For the foregoing reasons, Merck’ s motion to stay pending the MDL Panel’s transfer
decision is GRANTED. The motion to remand is deferred to the transferee court.

IT IS SO ORDERED.

Z-QO»M

JA S D. TODD
ED STATES DISTRICT JUDGE

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Charles C. Harrell

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC

6075 Poplar Ave.
Ste. 500
l\/lemphis7 TN 38119

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
Jackson, TN 38303--053

Diane Barrier Polk

Hardin County Courthouse
601 Main Street
Savannah, TN 38372

Honorable .1 ames Todd
US DISTRICT COURT

